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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                    )   Criminal No. 20cr10136
 UNITED STATES OF AMERICA
                                                    )
                                                    )   Violation:
                V.
                                                    )
                                                    )   Count One: Conspiracy to Distribute and to
 (1) KENJI DRAYTON, a/k/a "Bigs,"
                                                    )   Possess with Intent to Distribute Cocaine and
 (2) WINSTON MCGHEE, a/k/a "Pooh,"
                                                    )   Cocaine Base
 (3) HASSAN MONROE, a/k/a "Snack,"
                                                    )   (21 U.S.C. § 846)
 (4) DEREK HART, a/k/a "Bro,"
                                                    )
 (5) ERIC DAVIS, a/k/a "Bags,"
                                                    )   Forfeiture Allegation:
 (6) MAURICE COATES, a/k/a "Mo,"
                                                    )   (21 U.S.C. § 853)
 (7) DERRICK HOBSON,
 (8) ANDRE ECHEVARRIA,                              )
 (9) ANTONE JEREMIAH,                               )
                                                    )
 (10) MARTIN ANGOMAS,
 (11) MICHAEL STOKES,                               )
 (12) MICHAEL TOUSSAINT,                            )
 (13) KAREEM CHAPLIN,                               )
                                                    )
 (14) TATIANA MORRISSEY,
 (15) RUSSELL HANKERSON,                            )
 (16) JARMINA KALLON,                               )
                                                    )
 (17) RENARDO WILLIAMS, and
 (18) TARIK MUHAMMAD,                               )
                                                    )
                     Defendants

                                       INDICTMENT

                                        COUNT ONE
  Conspiracy to Distribute and to Possess with Intent to Distribute Cocaine and Cocaine Base
                                      (21 u.s.c. § 846)

The Grand Jury charges:

       Between in or about June 2019 and June 2020, in Boston and Randolph, in the District of

Massachusetts, and elsewhere, the defendants,

                              (1) KENJI DRAYTON, a/k/a "Bigs,"
                            (2) WINSTON MCGHEE, a/k/a "Pooh,"
                            (3) HASSAN MONROE, a/k/a "Snack,"
                                (4) DEREK HART, a/k/a "Bro,"
                                                1
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